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                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF MINNESOTA


RONALDO LIGONS,                                                    Civil No. 15-2210 (PJS/BRT)
BRENT BUCHAN,
LAWRENCE MAXCY,
JOHN ROE and JANE ROE,                                             Affidavit of Julie Thompson, M.D.

Individually, and on behalf of those similarly situated,

         Plaintiffs,

V.

MINNESOTA DEPARTMENT OF CORRECTIONS,

THOMAS ROY,
In his official capacity as Commissioner, Minnesota Department of Corrections;

DAVID A. PAULSON, M.D.,
In his official capacity as Medical Director, Minnesota Department of Corrections;

NANETTE LARSON,
In her official capacity as Health Services Director, Minnesota Department of Corrections,

         Defendants.
                                Affidavit of Julie Thompson, M.D.

         Julie Thompson, M.D., states as follows:

     1. I am a medical doctor currently serving as an Assistant Professor and Medical Director of

         Liver Transplantation at the University of Minnesota.

     2. I specialize in the diagnosis and treatment of different types of liver diseases, including

         hepatitis C virus (“HCV”). I am a licensed physician in the State of Minnesota and Board

         Certified in both Gastroenterology and in Transplant Hepatology.

     3. Attached hereto as Ex.1 is a copy of my most recent CV and previous expert reports

         submitted in this action. (Declarations of Julie Thompson, M.D., October 30, 2016 (ECF

         79), March 5, 2018 (Ex.2), March 19, 2018 (Ex 3).
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4. Hepatitis C is a serious medical condition, and diagnosis of the disease is the catalyst to

    begin treatment.

Updated DoC HCV Treatment Guidelines Fail to Meet the HCV Standard of Care

5. The Minnesota Department of Corrections (“DoC”) does not follow the community

    standard of care when it comes to treating prisoners with chronic HCV.

6. The DoC has had iterations of guidelines over the years concerning treatment of patients

    with chronic HCV and each of these iterations has fallen short of the standard of care. (ECF

    79 at ¶17; DOC Ligons.Michaelson 0004075-4077 (Ex. 4); DOC Ligons.Michaelson

    0004080-4082 (Ex. 5); DOC Ligons.Michaelson 0004954-4958)(Ex. 6).

7. The DoC has released a new version of its guidelines effective April 12, 2018. (DOC

    Ligons.Michaelson 0007941-7946)(Ex. 7). This latest iteration is wider in scope concerning

    intake testing and screening, but it maintains restrictions to treatment, just as previous

    guideline versions have. (Id.)

8. The April 2018 guidelines move the DoC to begin opt-out testing for chronic HCV rather

    than opt-in. (DOC Ligons.Michaelson 0007941-7946)(Ex. 7). This testing protocol is only at

    intake and does not gather information of prisoners who were incarcerated prior to the

    implementation of the new policy.

9. In the new guidelines, DoC removes prisoners with chronic HCV at fibrosis stages 0 and 1

    from consideration for treatment. “[T]he DOC will provide HCV antiviral treatment to

    offenders who have; Fibrosis stages 2, 3, and 4…”. (DOC Ligons.Michaelson 0007941-

    7946)(Ex. 7).

10. The DoC maintains that prisoners with chronic HCV and fibrosis stage of 0 or 1 are in a

    stable medical condition and are not eligible for treatment. (Second Paulson Affidavit, ECF
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   223, ¶91). Patients with minimal fibrosis can sometimes have serious symptoms associated

   with HCV such as joint pain, fatigue and muscle aches. It is also well established that HCV

   increases risk of cardiovascular disease, kidney disease diabetes mellitus and lymphomas.

11. The DoC states that the exception for not offering treatment at fibrosis stage 0 or 1 is a

   prisoner with chronic HCV having a concurrent co-infection with HIV or Hepatitis B. They

   could be considered for treatment if they also have another disease like diabetes. (DOC

   Ligons.Michaelson 0007941-7946)(Ex. 7). Without those caveats, prisoners with chronic

   HCV at fibrosis stage 0 or 1 are deferred treatment and instead monitored at intervals. For

   fibrosis stage 1, prisoners are tested every year, and for fibrosis stage 0, prisoners are tested

   every two years. (DOC Ligons.Michaelson 0007941-7946)(Ex. 7). Simply monitoring

   patients does not constitute treatment. There is no literature that I am aware of that

   supports, describes, explains, recommends or substantiates such a monitoring scheme

   without offering treatment. Under the current standard of care, treatment means the

   administration of DAA medications.

12. Despite the changes made to the DoC guidelines, the April 2018 DoC guidelines continue to

   fall short of the AASLD/IDSA Guidelines that recommend treatment for all patients

   diagnosed with chronic HCV no matter their fibrosis stage. (AASLD/IDSA Guidelines

   “When and In Whom to Treat”)(Ex. 8).

13. This standard of care is maintained in the community even with patients using the Medicaid

   system. In my experience patients on MN Care have received treatment and not been

   prevented by their insurance carrier from accessing DAAs as long as the drug prescribed is

   on the preferred list. (Thompson Rebuttal Declaration ¶ 9; MHCP Enrolled Providers –

   Pharmacies, Fee for Service PA Criteria Sheet – Hepatitis C Direct Acting Antivirals, January

   2017)(Ex. 9).
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Mr. Maxcy has chronic HCV and is at risk for additional comorbidities associated with
HCV, as are all HCV infected patients.

14. Of the three named plaintiffs in this case, Mr. Maxcy has yet to be treated with a DAA

   medication. (Second Paulson Affidavit, ECF 223, ¶125). The DoC claims that he does not

   need treatment because he has “normal liver function”. (Id at ¶126).

15. Mr. Maxcy’s latest elastography test was reported as fibrosis level of stage 0. (DOC

   Ligons.Michaelson 0005858)(Ex. 10). A patient with chronic HCV and a fibrosis stage of 0

   cannot necessarily be characterized as having a “normal liver ”. The patient--in this case, Mr.

   Maxcy--continues to have chronic HCV in the liver and HCV can cause other comorbidities

   even when there is limited or no liver scarring.

16. His diagnosis of chronic HCV has been known to the DoC since at least 2006. Even after

   requesting medication, the DoC continued to defer his treatment, putting him at risk for

   progression of chronic HCV and other conditions associated with chronic HCV. (DOC

   Ligons.Michaelson 0005856 (Ex. 11); DOC Ligons.Michaelson 0007404-7426)(Ex. 12).

17. At every stage of fibrosis in chronic HCV, patients can experience other issues related to

   HCV. This is true even for those with no or minimal liver scarring.

18. Symptoms commonly associated with chronic HCV include higher reports of fatigue,

   arthralgia (joint pain), and myalgia (muscle aches). Patients report psychological stress in

   living with HCV.

19. In my medical practice, I have seen patients who were treated with DAA medication at

   lower fibrosis stages express positive changes in their health after receiving treatment.

   Patients have told me that they experience more energy, less joint pain and psychological

   relief after eradicating HCV.
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20. Chronic HCV is also known to confer higher risk of developing diabetes mellitus type 2,

   cryoglobulinemic vasculitis (an inflammation of the blood vessels that can result in many

   deleterious effects), B cell lymphomas (2.5 times increased risk), cardiovascular disease and a

   multitude of kidney disorders which all result in higher risk of chronic kidney disease. (Anne-

   Claire Desbois & Patrice Cacoub, Diabetes Mellitus, Insulin Resistance and Hepatitis C Virus

   Infection: A Contemporary Review, 23.9 WORLD J. GASTROENTEROLOGY 1697–1711 (2017) (Ex.

   13); Francesco Negro & Mahnaz Alaei, Hepatitis C Virus and Type 2 Diabetes, 15.13 WORLD J.

   GASTROENTEROLOGY 1537–1547 (2009)(Ex. 14); Syed Tasleem & Gagan K Sood. Hepatitis

   C Associated B-Cell Non-Hodgkin Lymphoma: Clinical Features and the Role of Antiviral Therapy, 3.2

   J. CLINICAL & TRANSLATIONAL HEPATOLOGY 134–139 (2015) (Ex. 15); Laura E. Dowsett,

   et al, Living with Hepatitis C Virus: A Systematic Review and Narrative Synthesis of Qualitative

   Literature, CAN. J. GASTROENTEROLOGY & HEPATOLOGY (2017), available at

   PMC:3268650(Ex. 16); Ahmad Najib Azmi, Soek-Siam Tan, & Rosmawati Mohamed.

   Hepatitis C and Kidney Disease: An Overview and Approach to Management, 7.1 WORLD J.

   HEPATOLOGY 78–92 (2015) (Ex. 17); C.P.M.S Oliveira et al., Effects of Hepatitis C virus on

   cardiovascular risk in infected patients: A comparative study, 164.2 INT’L J. CARDIOLOGY, 221-226

   (2013) (Ex. 18)).

21. Along with it being the standard or care, these increased risks of developing other medical

   conditions highlight the necessity to treat a patient with chronic HCV with DAA

   medications, even when the patient has mild fibrosis.



Fibrosis testing may not have the test characteristics suitable to determine who receives
treatment or not

22. Assessing the level of fibrosis in patients with chronic HCV has been reported using various

   methods. These include blood tests that attempt to estimate of the presence of liver scarring,
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    elastography –a specific type of ultrasound that provides an assessment of liver scarring, and

    liver biopsy—a direct examination of liver tissue to quantify scarring. The primary goal for

    assessing the degree of fibrosis is to differentiate advanced scarring (F3 or F4) from scarring

    that is not as advanced (F0, F1, F2). The purpose of this differentiation is for determining

    which medications may be most effective and for how long that patient needs treatment, as

    well as to plan follow up needed after HCV cure. These tests were not designed to

    differentiate for example, F1 from F2, in order to treat or not treat HCV. US elastography is

    known to perform more poorly at the lower stages of fibrosis (that is, it is less likely to be

    able to differentiate F0 from F2, than it is to differentiate F2 from F4)

23. A test such as elastography, similar to any medical test, has variabilities and was not designed

    with the intention of making treatment decisions. The test is not meant to determine

    whether or not a patient is treated. (Ryosuke Takemoto et al., Validity of FibroScan values for

    predicting hepatic fibrosis stage in patients with chronic HCV infection, 10 J. DIGESTIVE DISEASES

    145-148 (2009)(Ex. 19); An Tang et al., Ultrasound Elastography and MR Elastography for

    Assessing Liver Fibrosis: Part 2, Diagnostic Performance, Confounders, and Future Directions, 205 AM. J.

    ROENTGENOLOGY 33-40 (July 2015) (Ex. 20); Declaration of Julie Thompson, M.D., Ex. 1

    ¶14)).

24. All patients diagnosed with chronic HCV are at risk of suffering from further complications

    of the disease over time. This is why, once diagnosed, a patient with chronic HCV must be

    prescribed treatment with DAAs, as per standard of care.
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